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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          SKANSKA USA BUILDING INC.,                    CASE NO. C19-0402JLR

11                               Plaintiff,               ORDER TO SHOW CAUSE
                   v.                                     REGARDING SUBJECT
12                                                        MATTER JURISDICTION
            1200 HOWELL STREET LLC,
13
                                 Defendant.
14

15          Before the court is Plaintiff Skanska USA Building Inc.’s (“Skanska”) complaint.

16   (Compl. (Dkt. # 1).) The court has reviewed Skanska’s complaint, and finds that Skanska

17   has failed to allege an adequate basis for the court’s subject matter jurisdiction. The

18   court, therefore, ORDERS Skanska within seven (7) days of the date of this order to

19   serve and file a submission providing the following information:

20          Skanska asserts two grounds for the court’s subject matter jurisdiction: (1) the

21   Declaratory Judgment Act, 28 U.S.C. § 2201, and (2) diversity of citizenship under 28

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 1   U.S.C. § 1332. (Compl. ¶ 1.1.) As explained below, these allegations are insufficient for

 2   two reasons.

 3          First, the Declaratory Judgment Act does not provide an independent basis for

 4   federal subject matter jurisdiction. See Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S.

 5   667, 671 (1950); see also Nationwide Mut. Ins. Co. v. Liberatore, 408 F.3d 1158, 1161

 6   (9th Cir. 2005) (“[T]he Declaratory Judgment Act does not by itself confer federal

 7   subject-matter jurisdiction . . . .”). Rather, the Act vests a district court with discretion to

 8   hear an action which is already within its jurisdiction. See 28 U.S.C. § 2201(a). Thus,

 9   Skanska’s first ground for asserting the court’s subject matter jurisdiction is inadequate.

10          Second, for purposes of assessing diversity jurisdiction under 28 U.S.C. § 1332,

11   the court must consider the domicile of all members of a limited liability company.

12   Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006); see also

13   Local Rules W.D. Wash. LCR 8(a). Skanska alleges that Defendant 1200 Howell Street,

14   LLC (“Howell”) is a Washington limited liability company with its principal place of

15   business in King County, Washington. (Compl. ¶ 2.2.) Yet, Skanska fails to allege the

16   domicile of any of Howell’s members. (See generally id.) Absent allegations of the

17   domicile of all of Howell’s members, the court cannot determine if Skanska has properly

18   invoked this court’s subject matter jurisdiction on the basis of the parties’ diversity of

19   citizenship. 1

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            1
               The court also notes that if any member of Howell is itself a limited liability company,
21
     Skanska must provide information about the citizenship of that member as well, which is
     determined in the same manner described above—by establishing the domicile of each member
22   of that limited liability company. See Johnson, 437 F.3d at 899 (examining the citizenship of a


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 1          Accordingly, the court ORDERS Skanska to show cause why this case should not

 2   be dismissed for lack of subject matter jurisdiction. If Skanska fails to provide the court

 3   with the information described above within seven (7) days of the date of this order, the

 4   case will be dismissed without prejudice. If Howell appears in this proceeding prior to

 5   the foregoing deadline, it may, but is not required to, respond to the court’s order to show

 6   cause within the same timeframe.

 7          Dated this 26th day of March, 2019.

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                                                         JAMES L. ROBART
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                                                         United States District Judge
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     limited partnership whose partners included limited liability companies by looking to the
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     citizenship of the members of those limited liability companies). This process continues until
     every layer of limited liability company membership has been reduced to the domicile of its
22   individual members.


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